                  Case
                  Case1:17-cv-00305-MW-GRJ
                       1:17-cv-00305-MW-GRJ Document
                                            Document24-2
                                                     1-5 Filed
                                                         Filed12/15/17
                                                               04/10/18 Page
                                                                        Page11of
                                                                              of11
 PAY PERIOD            12/28/2016 - 01/3/2017                                                                   Pay Date:         01/9/2017

                                                                                                              Total Hours:             24.25
 EMPLOYER
 LAWN ENFORCEMENT AGENCY, INC.
 P.O. BOX 141091
 GAINESVILLE, FL 32614




 EMPLOYEE
                                                                       NET PAY:                                                      $83.74
 AUSTIN L. BROWN
 AUSTIN L. BROWN                                                       CHECKING# ....6368                                            $83.74
 459 SW JENNIFER CT
 LAKE CITY, FL 32024
 SSN: XXX-XX-0194




 MEMO:
 Direct Deposit




 PAY                        QTY     Rate      Current         YTD
____________________________________________________________________
 Hourly Regular Rate       24.25 $11.00       $266.75     $481.25




 Total                                        $266.75     $481.25


 TAXES                                        Current         YTD
____________________________________________________________________
 Medicare Employee                            ($3.87)      ($6.98)
 Social Security Employee                    ($16.54)     ($29.84)
 Federal Withholding                            $0.00        $0.00
 Medicare Employee Addl Tax                     $0.00        $0.00




 Total                                       ($20.41)     ($36.82)


 AFTER-TAX ADJUSTMENTS                        Current         YTD
____________________________________________________________________
 UNIFORMS                                   ($162.60)    ($165.20)
                                                                                                                                   B




                                                                          Net Pay                            Current                   YTD
                                                                         ____________________________________________________________________

 Total                                      ($162.60)    ($165.20)                                             $83.74            $279.23
